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|N THE UN|TED STATES D|STR|CT COURT `
FOR THE WESTERN D|STR|CT OF TENNESSEE(]S JUL |8 FH 33 55
WESTERN D|VlSlON

TPOM M. GJlllD
uNlTED sTATEs oF AMERch, ) U_EF_K U.S. C§Slncr`coinr
) criminal No. 04-20081\§\00§ § §.§ii.§»§znis
P|aintiff, )
)
vs. )
l
JAMlE DAwN FoRREsTER, )
l
Defendants. )

 

ORDER ON
UNOPPOSED MOT|ON OF THE UN|TED STATES
TO CONT|NUE RE-SENTENC|NG HEARING

 

This cause came on to be heard this date upon written motion of the United States
for a continuance of the Re-sentencing Hearing of Defendant Forresterto a later date, and

lT SAT|SFACTOR|LY APPEAR|NG TO THE COURT

1. The United States has previously filed a Rule 35 lVlotion for Reduction of
Sentence as to Defendant Forrester. it is currently set for July 21, 2005 at 11:00 a.rn.

2. At the time of the setting of this hearing, Co-Defendant Phi|lips had been
allowed to Withdraw from his guilty plea and counsel for Phil|ips and the United States were
going to report back to the Court as to a potential trial date. That date was subsequently
set by the Court for October 3, 2005.

3. The United States requests that Defendant Forrester’s Re-sentencing

Hearing be continued to a date subsequent to the Phillips’ trial date. The United States

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has contacted counsel for Defendant Forrester, Lee Gera|d, Esq., who stated that he has

no objection to the instant motion.

4. The motion of the United States should be granted for good cause shown.
|T |S THEREFORE ORDERED that the Re-sentencing Hearing of Defendant Jamie
Dawn Forrester is hereby continued to the date of W - OC-`» l°l ,_. 2005 aj q'~wG-M»

ENTER TH|S 18 DAY OF JULY, 2005

55...0 li\‘ G.llii“

PHlPPS McCALLA
U0 rted States District Judge

 

COURT - WESTERN

Notice of Distribution

This notice confirms a copy of the document docketed as number 127 in
case 2:04-CR-20081 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

